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                                                                                UNtTED S]eIES^ DtsrRtcT couRT
                        IN THE LTNITED STATES DISTRICT               COURT         LAS CRt,,CE$, rqEW.[,rEXjCO.-.

                              FoR rHE DrsrRrcr oF NEw            MExrco                    00T 2 6 Z0z2

                                                                                  MITCI{EtL R, HLFERS
 UNITED STATES oF       AMERICA,                       ;                              CTERK    OF^   COURT
                                                       )
                Plaintiff,                             )     CRIMINAL NO. 22-CR-891 KG

         VS.


 JEFFREY DEAN BIDDLE,

                Defendant.



                                        PLEA AGREEMENT

       Pursuant to Federal Rule of Criminal Procedure I       l(c)(lXC), the parties hereby notify the

Court of the following agreement between the United States Attorney for the District of New

Mexico, the defendant, JEFFREY DEAIY BIDDLE, and the defendant's counsel, DANIEL

RUBIN:

                                REPRESENTATION          B   Y COLINSEL

       l.      The defendant understands the defendant's right to be represented by an attomey

and is so represented. The defendant has thoroughly reviewed all aspects of this case with the

defendant's afforney and is   fully satisfied with that attorney's legal representation.

                                  RIGHTS OF THE DEFENDANT

       2.      The defendant further understands the following rights:

               a.     to plead not guilty;

               b.     to have atrial by jury;

               c.     to confront and cross-examine witnesses and to call witnesses to testifr for
                      the defense; and

               d.     against compelled self-incrimination.
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                        WAIVER OF RIGHTS AND PLEA OF GUILTY

       3.      The defendant hereby agrees to waive these rights and to plead guilty to the

Indictment charging in Count 1 a violation of   l8 U.S.C.   $ 2a22$): Enticement and Attempted

Enticement of a Minor; charging in Count 2 a violation of 18 U.S.C. $$ 2251(a), 2256(2)(1t):

Production and Attempted Production of a Visual Depiction of a Minor Engaging in Sexually

Explicit Conduct; charging in Count 3 a violation of 18 U.S.C. $$ 2252A(a)(2)(A), 2256(8)(A),

and 2256(2)(4): Receipt and Attempted Receipt      of Child Pornography; charging in Count 4 a

violation of l8 U.S.C. $$ 2252A(a)(2)(A), 2256(8XA), and2256(2)(4): Receipt and Attempted

Receipt   of Child Pornography;     and charging   in Count 5 a violation of l8         U.S.C.      $$

2252A(a)(2)(A), 2256(8XA), and 2256(2)(A): Receipt and Affempted Receipt                  of    Child

Pornography.

                                ELEMENTS OF THE OFFENSE

       4.      The elements of 18 U.S.C. 5 2422(b), Enticement and Attempted Enticement of a

Minor, are:

               a.      The defendant used a facility or means of interstate commerce to knowingly
                       persuade, induce, entice, or coerce a victim to engage in sexual activity;

               b.      The victim was less than 18 years of age;

               c.      The defendant believed the victim was less than   l8 years of age; and

               d.      If the sexual activity had occurred, the defendant would have committed the
                       criminal offense of production of child pornography.

                    e. In order to prove an attempt, the government must prove beyond a
                       reasonable doubt that (1) the defendant intended to commit the crime; and
                       that (2) the defendant took a substantial step towards commission of that
                       crime.

                           i. A "substantial step" is something     beyond mere preparation. A
                              substantial step is an act which, in the ordinary and likely course   of
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                                events, would lead to the commission of the particular crime. The
                                step must be a strong indication of the defendant's criminal intent,
                                and must unequivocally mark the defendant's acts as criminal. It
                                should demonstrate commitment to the crime charged.

       5.       The elements   of 18 U.S.C.   $$ 2251(a),2256(2)(A), Production and Attempted

Production of a Visual Depiction of a Minor Engaging in Sexually Explicit Conduct, are:

                        the defendant employed, used, persuaded, induced, enticed or coerced the
                        victim to take part in sexually explicit conduct for the purpose of producing
                        a visual depiction ofsuch conduct;

                b.      at the time, the victim was a minor (under 18 years old); and

                        the visual depiction was produced using materials that had been mailed,
                        shipped, or transported across state lines or in foreign commerce by any
                        means, including by computer, or has actually been transported or
                        transmitted using any means or facility of interstate or foreign commerce.

                     d. In order to prove an attempt, the govemment must prove beyond a
                        reasonable doubt that (l) the defendant intended to commit the crime; and
                        that (2) the defendant took a substantial step towards commission of that
                        crime.

                            i. A "substantial step" is something      beyond mere preparation. A
                               substantial step is an act which, in the ordinary and likely course of
                               events, would lead to the commission of the particular crime. The
                               step must be a strong indication of the defendant's criminal intent,
                               and must unequivocally mark the defendant's acts as criminal. It
                               should demonstrate commitment to the crime charged.

       6.       The elements    of   18 U.S.C. $$ 2252A(a)(2)(A), 2256(8XA), and 2256(2XA),

Receipt and Attempted Receipt of Child Pornography, are:

                a.      The defendant knowingly received an item or items of child pornography;

                b.      The item or items of child pornography were transported in interstate or
                        foreign commerce or by any means, including by computer; and

                        When the defendant received the item or items, the defendant believed the
                        item or items were child pornography.

                d.      In order to prove an attempt, the government must prove beyond             a
                        reasonable doubt that (1) the defendant intended to commit the crime; and
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                        that (2) the defendant took a substantial step towards commission of that
                        crime.

                                 A   "substantial step" is something beyond mere preparation. A
                                 substantial step is an act which, in the ordinary and likely course of
                                 events, would lead to the commission of the particular crime. The
                                 step must be a strong indication of the defendant's criminal intent,
                                 and must unequivocally mark the defendant's acts as criminal. It
                                 should demonstrate commitment to the crime charged

                                            SENTENCING

       7.       The defendant understands that the minimum and maximum penalty the Court can

impose as to   Count 1 is:

                        imprisonment for a period of not less than 10 years and not more than life;

                b.      a fine not to exceed $250,000.00 or twice the pecuniary gain to            the
                        Defendant or pecuniary loss to the victim;

                       a mandatory term of supervised release of not less than 5 years and not more
                       than life. (If the defendant serves a term of imprisonment, is then released
                       on supervised release, and violates the conditions of supervised release, the
                       defendant's supervised release could be revoked--even on the last day ofthe
                       term--and the defendant could then be returned to another period of
                       incarceration and a new term ofsupervised release);

                d.     a mandatory special penalty assessment     of $100.00;

                e.     an additional special penalty assessment of $5,000.00 pursuant    to l8 U.S.C.
                        $ 3014(a); and

                       restitution as may be ordered by the Court.

       8.       The defendant understands that the minimum and maximum penalty the Court can

impose as to Count 2 is:

                a.     imprisonment for a period of not less than 15 years and not more than 30
                                             l8 U.S.C. $ 2251(e), if the Defendant has a prior
                       years, but, pursuant to
                       conviction under Chapter 110, 18 U.S.C. g 1591, Chapter 71, Chapter
                       109A, or Chapter ll7, or under section 920 of title 10 (article 120 of
                       the Uniform Code of Military Justice), or under the laws of any State
                       relating to aggravated sexual abuse, sexual abuse, or abusive sexual
                       conduct involving a minor or ward, or sex trafficking of children, or
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          the production, possession, receipt, mailing, sale, distribution,
          shipment, or transportation of child pornography, or sex trafficking
          of children, the minimum and maximum penalty is imprisonment for
          a period of not less than 25 years and not more than 50 years, but if
          the Defendant has two or more such priors, then the minimum and
          maximum penalty is imprisonment for a period of not less than 35 years
          and not more than lifetime imprisonment;

    b.    a fine not to exceed $250,000.00 or twice the pecuniary gain to the
          Defendant or pecuniary loss to the victim;

    c.    a mandatory term    of supervised release of not less than 5 years and not
          more than life. (If the defendant serves a term of imprisonment, is then
          released on supervised release, and violates the conditions of supervised
          release, the defendant's supervised release could be revoked--even on the
          last day of the term--and the defendant could then be returned to another
          period of incarceration and a new term of supervised release);

    d.    a mandatory special penalty assessment     of $100.00;

          an assessment of $5,000, per count, pursuant    to   18 U.S.C. $ 3014;

          an assessment, pursuant   to   18 U.S.C. 5 2259A, per count,   of no more than:

                 $17,000.00 if convicted of 18 U.S.C. $$ 2252(a)(4) or
                 2252A(a)(5);

          ll.    $35,000.00 if convicted of an offense for trafficking in child
                 pomography as defined by $ 2259(c)(3), which includes offenses
                 under l8 U.S.C. $$ 2251(d), 22s2(a)(l) through (3), S22s2\(aXl)
                 through (4), 5 2252A(g) (in cases in which the series of felony
                 violations exclusively involves violations of $$ 225 l(d),2252,
                 2252A(a)(l) through (5), or $ 2260(b), or $ 2260(b);

          I11.   $50,000.00   if convicted of a child pomography production offense
                 as defined  by l8 U.S.C. $ 2259(c)(l), which includes offenses
                 under l8 U.S.C. $$ 2251(a) through (c), $ 225 lA, g 2252A(g) (in
                 cases in which the series of felony violations involves at least I of
                 the violations listed in this subsection), $ 2260(a) or any offense
                 under chapter 109A or chapter ll7 that involved the production of
                 child pornography (as such term is defined in $ 2256);

    o
    b.    mandatory restitution pursuant to 18 U.S.C. 5 2259.
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       9.     The defendant understands that the minimum and maximum penalty the Court can

impose as to Counts 3-5 is:

              a.      imprisonment for a period of not less than five (5) years and not more than
                     twenty (20) years, but, pursuant to 18 U.S.C. S 2252A(bXl), if the
                     Defendant has a prior conviction under chapter lr0, 18 u.s.c. 1591,
                                                                                          $
                     chapter 71, chapter 109A, or chapter ll7 , or under section 920 of title
                     10 (article 120 of the uniform code of Military Justice), or under the
                     laws ofany state relating to aggravated sexual abuse, sexuar abuse, or
                     abusive sexual conduct involving a minor or ward, or the production,
                     possession, receipt, mailing, sale, distribution, shipment, or
                     transportation of child pornography, or sex trafficking of children, the
                     minimum and maximum penalty is imprisonment for a period of not
                     less than fifteen (15) years and not more than forty (a0) years, but if the
                     Defendant has two or more such priors, then the minimum and maximum
                     penalty is imprisonment for a period of not less than thirty-five (35) years
                     and not more than lifetime imprisonment;

              b.     a fine not to exceed $250,000.00 or twice the pecuniary gain to            the
                     Defendant or pecuniary loss to the victim;

              c.     a mandatory term of supervised release of not less than 5 years and not more
                     than life. (If the defendant serves a term of imprisonment, is then released
                     on supervised release, and violates the conditions ofsupervised release, the
                     defendant's supervised release could be revoked--even on the last day ofthe
                     term--and the defendant could then be returned to another period of
                     incarceration and a new term ofsupervised release);

             d.      a mandatory special penalty assessment     of $100.00;

             e.      an assessment of $5,000, per count, pursuant    to l8 U.S.C. $ 3014;

                     an assessment, pursuant   to   18 U.S.C. 5 2259A, per count, of no more than:

                     i.       $17,000.00 if convicted of l8 U.S.C . gg 2252(aX4) or
                              22s2A(a)(s);

                     ii.      $35,000.00 if convicted of an offense for trafficking in child
                              pornography as defined by g 2259(c)(3), which includes offenses
                              under l8 U.S.C. g$ 2251(d), 2252(a)(t) rhrough (3), gZ252A(aXl)
                              through (4), S 2252A(g) (in cases in which the series of felony
                              violations exclusively involves violations of $g 2251(d),2252,
                              2252A(a)(l) through (5), or g 2260(b), or g 2260(b);
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                               iii.   $50,000.00 if convicted of a child pornography production offense
                                      as defined by l8 U.s.c. g 2259(c)(l), which incrudes offenses
                                      under 18 U.S.C. $$ 2251(a) through (c), g 225 tA,
                                                                                           SZZI2A(S) (in
                                      cases in which the series of felony violations involves at least I of
                                      the violations listed in this subsection), g 2260(a) or any offense
                                      under chapter 109A or chapter lr7 thatinvolved the production of
                                      child pornography (as such term is defined in g 2256);

                     g.     mandatory restitution, pursuant to 18 U.S.C. $ 2259(b)(2),that is not less
                            than $3,000.00 per victim.

           10.       The parties recognize that the federal sentencing guidelines are advisory, and that

the Court is required to consider them in determining the sentence         it imposes.
           11.       The parties are aware that the Court may accept or reject this plea agreement, or

may defer its decision as to acceptance or rejection until there has been an opportunity to consider

the presentence report. Pursuant to Federal Rule of Criminal Procedure ll(c)(5),              if   the Court

rejects this plea agreement, the defendant shall have the right to withdraw Defendant,s plea
                                                                                                          of
guilty.

          12.        The United States hereby expressly reserves the right to make known to the United

States Probation      office   and to the Court, for inclusion in the presentence report prepared pursuant

to Federal Rule of Criminal Procedure 32, any information that the United States believes may be

helpful to the Court, including but not limited to information about any relevant conduct under

ussc      $ lBl.3.

          13.    Except under circumstances where the Court, acting on its own, fails to accept this

plea agreement, the defendant agrees that, upon the defendant's signing of this plea
                                                                                     agreement, the

facts that the defendant has admitted under this plea agreement as set forth below, as         well   as any

facts to which the defendant admits in open court at the defendant's plea hearing, shall be

admissible against the defendant under Federal Rule of Evidence 801(dX2XA) in any subsequent

proceeding, including a criminal trial, and the defendant expressly waives the defendant,s rights
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    under Federal Rule of Criminal Procedure I     I   (f) and Federal Rule of Evidence   41 0   with regard to

    the facts the defendant admits in conjunction with this plea agreement. The Court has not acted on

    its own   if its rejection of the plea agreement    occurs after Defendant has expressly or implicitly

    suggested to the Court a desire or willingness to withdraw his or her plea or not to be bound by the

    terms of this plea agreement.

                                DEFENDANT'S ADMISSION OF FACTS

              14.   By my signature on this plea agreement, I am acknowledging that I am pleading

    guilty because I am, in fact, guilty of the offense(s) to which I am pleading guilty. I recognize and

    accept responsibility for my criminal conduct. Moreovero in pleading guilty,          I acknowledge    that

    if I chose to go to trial instead of entering this plea, the United   States could prove facts sufficient

    to establish my guilt of the offense(s) to which I am pleading guilty beyond a reasonable doubt,

    including any facts alleged in the Indictment that increase the statutory minimum or maximum

    penalties. I specifically admit the following facts related to the charges against me, and declare

    under penalty of perjury that all of these facts are true and correct:

           Counts    I & 2:
           From on or about June24,202l, until on or about September 412021, in Luna
           County, in the District of New Mexico, I, Jeffrey Dean Biddle, used my cell
           phone to knowingly persuade, induce, entice, and coerce someone I believed to
           be an eight-year old girl to take pornographic photos to send to me through
           text message. I specifically requested 6'naked" pictures that would include the
           minor's "pussy." I asked for nude photographs approximately twenty-four
           times between Jtne 24, 2021, and September 4, 2021. During these text
           exchanges, I also sent nude photographs of my penis. I know that requesting

$          a minor under the age of 18 years old to make and send pornographic photos
           constitutes the federal crime production of child pornography, in violation of
           18 U.S.C. S Z?st(a), as is charged in Count 2 of the Indictment. I also
n.d        acknowledge that when I requested photos of the minor's genitalia, I was
,ol        requesting an image of a minor engaged in sexually explicit conduct, as defined
           in 18 U.S.C. $ 2256Q)(A). I acknowledge that regardless of the actual age of
           the person I was texting with, I believed that individual was a minor, so, at a
           minimum, I am guilty of attempting to coerce and entice a minor as well as
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       attempting to produce child pornography, as charged in Counts 1 and 2 of the
       Indictment. Finally, I believed the minor lived in Texas, and I also
       acknowledge that in order to text someone using my cell phone I must connect
       to the internet through my service provider. Accordinglyr l recognize that the
       interstate nexus element for Counts 1 and 2 of the Indictment is satisfied.

       Counts 3-5:

       On or about June 24,2021, August 1,2021, and September 4, 2021, in Luna
       County in the District of New Mexico, I, Jeffrey Dean Biddle knowingly
       received and attempted to receive images of child pornography from someone
       I believed was a minor, specifically someone who I believed was eight-years-
       old. The pictures sent on each of the days listed above that I received displayed
       a close-up photo of a vagina, which I recognize constitutes sexually explicit
       conduct under 18 U.S.C. $ 2256(2XA). I acknowledge that regardless of the
       actual age of the person I was texting with, I believed that individual was a
       minor, so, at a minimum I am guilty of attempting to receive child
       pornography, as charged in Counts 3 through 5 of the Indictment I received
       these images through text message on my cell phone. I believed the minor
       sending the photos lived in Texas and I also acknowledge that in order to
       receive a text message from someone using my cell phone I must connect to the
       internet through my service provider. Accordingly, I recognize that the
       interstate nexus element for Counts 3 through 5 of the Indictment is satisfied.

       15.       By signing this agreement, the defendant admits that there is a factual basis for each

element of the crime(s) to which the defendant       will   plead   guilty. The defendant   agrees that the

Court may rely on any of these facts, as well as facts in the presentence report, to determine the

defendant's sentence, including, but not limited to, the advisory guideline offense level.

                                            STIPULATIONS

       16.       The United States and the defendant stipulate as follows:

                 a.     The defendant and the United States agree, pursuant to Federal Rule of

Criminal Procedure 11(c)(l)(C) that the appropriate sentencing range in this case is thirty-five (35)

years to   life. Accordingly,   the judge may not sentence the defendant to anything less than thirty-

five (35) years. The defendant has also been charged with the following felony offenses in New

Mexico state court case D-0619-CR-202100219:            l)   Criminal Sexual Penetration in the First
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Degree (Child under       l3),   a   first degree felony in violation of NMSA $ 30-9-11(DXl); 2) Criminal

Sexual Penetration in the First Degree (Child under             l3), a first degree felony in violation of NMSA

$ 30-9-1   1(DXl); 3) Criminal Sexual Penetration in the First Degree (Child under 13), a first degree

felony in violation of NMSA $ 30-9-11(D)(1); and 4) Criminal Sexual Penetration in the Second

Degree (Child under       l3),   a    first degree felony in violation of NMSA $ 30-9-13(B)(l)' This is a

global plea agreement meant to apply to both Defendant's federal and state cases. Defendant

agrees he       will also plead guilty in state court to all the counts         charged in case D-0619-CR-

202100219. The defendant and the state prosecutors agree that a sentence of 35 years for the state

case is the appropriate sentence. The judge              in both the state and federal case shall order that

Defendant's sentence in the state and federal cases run concurrent to each other. The remaining

components of the defendant's sentence, including but not limited to any fine or restitution and the

length and conditions of supervised release, shall be imposed by the Court after the presentation

of evidence and/or argument by the parties.

                                                   RESTTTUTION

           17   .   The defendant understands that restitution is this case is mandatory, pursuant to 18

U.S.C. 5 2259. The defendant understands that an unanticipated amount of a restitution order                will

not serve as grounds to withdraw the defendant's guilty plea. The defendant further agrees to

comply with any restitution order entered into at the time of sentencing. The defendant further

agrees that the defendant            will not seek the discharge of   any restitution obligation, in whole or in

part, in any present or future bankruptcy proceeding. The defendant agrees to make full restitution

for the provable losses caused by the defendant's activities. The defendant further agrees to grant

the United States a wage assignment, liquidate assets, or complete any other tasks which              will result




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in immediate payment in full, or payment in the                shortest time   in which full payment can     be


reasonably made as required under 18 U.S.C. $ 3572(d).

         18.      The defendant further agrees to make full and accurate disclosure of his financial

affairs to the United States. Specifically, the defendant agrees that, before sentencing, the

defendant shall provide to the United States, under penalty of perjury, a financial statement which

shall identiff all assets owned or held directly or indirectly by the defendant. The defendant shall

also identify    all   assets valued at more than $5,000 which have been transferred to           third parties

since June 24,2021, including the location of the assets and the identity of any third party.

         19.      The parties will jointly recommend that as a condition of probation or supervised

release, the defendant      will notify   the Financial Litigation Unit, United States Attorney's Office,    of

any interest in property obtained, directly or indirectly, including any interest obtained under any

other name, or entity, including a trust, partnership or corporation after the execution of this

agreement until the fine or restitution is paid in        full. See 18 U.S.C.   $ 3664(k), (n).

         20.      The parties     will    also jointly recommend that as a condition          of probation   or

supervised release, the defendant         will notify the Financial Litigation Unit, United   States Attorney's


Office, before the defendant transfers any interest in property owned directly or indirectly by the

defendant, including any interest held or owned under any other name or entity, including trusts,

partnership and/or corporations. See 18 U.S.C. $ 366a(k), (n).

         21.       The defendant further agrees that whatever monetary penalties are imposed by the

Court   will   be due immediately and       will   be subject to immediate enforcement by the United States

as provided     for in 18 U.S.C. $ 3613. If the Court imposes a schedule of payments, the defendant

understands that the schedule of payments is merely a minimum schedule of payments and not the

only method, nor a limitation on the methods, available to the United States to enforce the


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judgment. If the defendant is incarcerated, the defendant agrees to participate in the Bureau of

Prisons' Inmate Financial Responsibility Program, regardless of whether the Court specifically

directs participation or imposes a schedule of payments.

                                           FORFEITURE

       22.     The Defendant agrees       to forfeit,   and hereby forfeits, whatever interest the

Defendant may have in any asset derived from or used in the commission of the offense(s) in this

case. The Defendant agrees to cooperate    fully in helping the United   States (a) to locate and   identify

any such assets and (b) to the extent possible, to obtain possession and/or ownership of all or part

of any such assets. The Defendant further agrees to cooperate fully in helping the United States

locate, identifr, and obtain possession and/or ownership of any other assets about which the

Defendant may have knowledge that were derived from or used in the commission of offenses

committed by other persons.

        23.    The Defendant voluntarily and immediately agrees to forfeit to the United States

all of the Defendant's right, title, and interest in the following assets and properties:

                   a.   iPhone SE seized from Biddle's residence on October        7   ,2021.

       24.     The Defendant agrees to fully assist the United States in the forfeiture of the

above-described property and to take whatever steps are necessary to pass clear title to the

United States, including but not limited to execution of any documents necessary to transfer the

Defendant's interest in the above-described properfy to the United States.

        25.     The Defendant agrees to waive the right to notice of any forfeiture proceeding

involving the above-described property.

        26.     The Defendant knowingly and voluntarily waives the right to        a   jury trial on the

forfeiture of the above-described property. The Defendant knowingly and voluntarily waives all



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constitutional, legal, and equitable defenses to the forfeiture of said property in any proceeding.

The Defendant agrees to waive any jeopardy defense or claim of double jeopardy, whether

constitutional or statutory, and agrees to waive any claim or defense under the Eighth

Amendment to the United States Constitution, including any claim of excessive fine, to the

forfeiture of said property by the United States or any State or its subdivisions.

                                DEFENDANT'S OBLIGATIONS

       27.     The defendant understands the defendant's obligation to provide the United States

Probation Office with truthful, accurate, and complete information, including, but not limited to

defendant's true identity, citizenship status, and any prior criminal convictions. The defendant

hereby represents that the defendant has complied      with and will continue to comply with this

obligation. The defendant understands that any misrepresentation with respect to the above

obligations may be considered a breach of this plea agreement.

       28.     The Defendant agrees that any financial records and information provided by the

Defendant to the Probation Office, before or after sentencing, may be disclosed to the United States

Attorney's Office for use in the collection of any unpaid financial obligation.

       29.     By signing this plea agreement, the defendant waives the right to withdraw the

defendant'spleaof guiltypursuanttoFederalRuleof CriminalProcedure ll(d)unless: (l)the

court rejects the plea agreement pursuant to Federal Rule of Criminal Procedure 11(c)(5) or (2) the

defendant can show a fair and just reason as those terms are used in Rule   1   1(dX2XB) for requesting

the withdrawal. Furthermore, defendant understands that      if the court rejects the plea   agreement,

whether or not defendant withdraws the guilty plea, the United States is relieved of any obligation

it had under the agreement and defendant shall be subject to prosecution for any federal, state, or

local crime(s) which this agreement otherwise anticipated would be dismissed or not prosecuted.



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         30.      By signing this plea agreement, the Defendant knowingly and voluntarily waives

any rights and defenses the Defendant may have under the Excessive Fines Clause of the Eighth

Amendment to the United States Constitution to imposition of special or other assessments.

                      SEX OFFENDER REGISTRATION AND NOTIFICATION

         31.       The defendant understands that by pleading guilty, the defendant will be required

to register as a sex offender upon the defendant's release from prison as a condition of supervised

release pursuant     to 18 U.S.C. $ 3583(d). The defendant also          understands that independent   of

supervised release, the defendant           will be subject to federal and state sex offender registration

requirements, and that those requirements may apply throughout the defendant's life. The

defendant understands that the defendant shall keep the defendant's registration current, shall

notify the state sex offender registration agency or agencies of any changes to the defendant's

name, place of residence, employment, or student status, or other relevant information within three

business days after such change. The defendant shall comply             with requirements to periodically

verifl, in person the defendant's sex offender registration information. The defendant understands

that the defendant    will   be subject to possible federal and state penalties for failure to comply with

any such sex offender registration requirements. The defendant further understands that, under 18

U.S.C.   $   4042(c), notice   will   be provided to certain law enforcement agencies upon the defendant's

release from confi nement following conviction.

         32.       As a condition of supervised release, the defendant shall initially register with the

state sex offender registration in New Mexico, and shall also register with the state sex offender

registration agency in any state where the defendant resides, is employed, works, or is a student,

as directed    by the Probation Officer. The defendant shall comply with all requirements of federal

and state sex offender registration laws, including the requirements to update the defendant's



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registration information. The defendant shall provide proof of registration to the Probation Officer

within 72 hours of release from imprisonment.

       33.     The defendant has been advised, and understands, that failure to comply with these

obligations subjects him to prosecution for failure to register under federal law, 18 U.S.C. 5 2250,

which is punishable by a fine or imprisonment, or both.

                 WAIVER OF APPEAL AND POST-CONVICTION RIGHTS

       34.     The Defendant is aware that29 U.S.C. $ 1291 and     l8 U.S.C. S 3742 afford the right

to appeal a conviction and the sentence imposed. Acknowledging that, the Defendant knowingly

waives the right to appeal the Defendant's conviction(s) and any sentence, imposed in conformity

with this Fed. R. Crim. P. I l(c)(1)(C) plea agreement, as well as any order of restitution entered

by the Court. This waiver extends to any challenge to the manner in which the sentence was

determined or imposed, including the district court's authority to make findings supporting the

sentence. The Defendant also waives the right to appeal any sentence imposed below or within the

Guideline range upon a revocation of supervised release in this cause number but may nonetheless

appeal the determination of the revocation Guideline range. The Defendant also waives the right

to appeal the denial of any motion filed under 18 U.S.C. $ 3582(c)(1)(A) where such denial rests

upon the court's determination that a sentence reduction is not warranted under the factors set forth

in 18 U.S.C. $ 3553(a). In addition, the Defendant agrees to waive any collateral affack to the

Defendant's conviction(s) and any sentence, pursuantto 28 U.S.C. $$ 2241,2255,or any other

extraordinary writ, except on the issue of defense counsel's ineffective assistance.




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                                 GOVERNMENT'S AGREEMENT

        35.    Provided that the defendant fulfills the defendant's obligations as set out above, the

United States agrees not to bring additional criminal charges against the defendant arising out of

the facts forming the basis of the present Indictment.

        36,    This agreement is limited to the United States Attorney's Office for the District of

New Mexico and does not bind any other federal, state, or local agencies or prosecuting authorities.

                                       VOLLINTARY PLEA

       37.     The defendant agrees and represents that this plea of guilty is freely and voluntarily

made and is not the result of force, threats or promises (other than the promises set forth in this

plea agreement and any addenda). The defendant also represents that the defendant is pleading

guilty because the defendant is in fact guilty.

                              VIOLATION OF PLEA AGREEMENT

       38.     The defendant understands and agrees that       if the defendant or the defendant's
attorney violates any provision of this plea agreement, the United States may declare this plea

agreement   null and void, and the defendant will thereafter be subject to prosecution for       any

criminal violation including, but not limited to, any crime(s) or offense(s) contained in or related

to the charges in this case, as well as perjury, false statement, and obstruction ofjustice, and any

other crime committed by the defendant during prosecution of this case.

                                     SPECIAL ASSESSMENT

       39.     At this time of   sentencing, the defendant   will tender a money order or certified
check payable to the order of the United States District Court, District of New Mexico, 333 Lomas

Boulevard, NW, Albuquerque, New Mexico 87102, in the amount of $500.00 in payment of the

special penalty assessment described above.




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        40.      Pursuant   to   18 U.S.C. $ 3014,   if the Defendant is found to be non-indigent,      the

Defendant   will   also tender to the United States District Court, a money order or certified check

payable to the order of the United States District Court in the amount of
                                                                          $5.000. per relevant count

of conviction.

        41.      The parties agree that the United States         will   request the Court   to order   the

Defendant to pay an assessment         of up to $50,000, per relevant count of conviction. Any
assessment imposed shall be paid to the United States District Court by money order or certified

check payable to the order of the United States District Court.

                                     ENTIRETY OF AGREEMENT

       42.       This document and any addenda are a complete statement of the agreement in this

case and may not be altered unless done so in      writing and signed by all parties. The parties agree

and stipulate that this agreement    will   be considered part of the record of defendant's guilty plea

hearing as if the entire agreement had been read into the record of the proceeding. This agreement

is effective upon signature by the defendant and an Assistant United States Attorney, and upon

entry of a guilty plea by the defendant pursuant to this agreement.

       AGREED TO AND SIGNED                 this 28th       day   of Sppternbq                   ,2022.

                                                          ALEXANDER M.M. UBALLEZ
                                                          United States Attorney


                                                           M!,;,NW
                                                          MARISA A. ONG
                                                          MATILDA M. VILLALOBOS
                                                          Assistant U.S. Attomey
                                                          200 N. Church Street
                                                          Las Cruces, NM 88001
                                                          (s7s) s22-2304 - Tel.
                                                          (575) 522-2391 - Fax



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        This agreement has been read to me in the language t understand best, and I have carefully
discussed every part of it with my attorney. I undirstand the terms of this agreement,
                                                                                               and I
voluntarily agree to those terms. My attorney has advised me of my rights, of thJelements of the
offense, of possible defenses, of the sentencing factors set forth in   fI
                                                                         U.S.C. $ 3553(a), of the
relevant sentencing guidelines provisions, and of the consequences of entering into this agreemenr.
No promises or inducements have been given to me other than those containid in this agreement.
No one has threatened or forced me in any way to enter into this agreement. Finally,
                                                                                      I am satisfied
with the representation of my attorney in this matter.




                                                                   EAN BIDDLE



        I am the attorney for JEFFREY DEAN BIDDLE. I have carefully discussed every part of
this agreement with my client. Further, I have fully advised my client of his rights, of the eliments
of theoffense, of possible defenses, of the sentencing factors set forth in lS U.S.C. 3553(a), of
                                                                                        $
the relevant sentencing guidelines provisions, and of the consequences of .nt.ring into'this
agreement. To my knowledge, my client's decision to enter into this agreement is an informed
and voluntary one.


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                                                     Attorney for Defendant




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